

C &amp; J Bros., Inc v Hunts Point Terminal Produce Coop. Assn. (2022 NY Slip Op 00718)





C &amp; J Bros., Inc v Hunts Point Terminal Produce Coop. Assn.


2022 NY Slip Op 00718


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Manzanet-Daniels, J.P., Webber, Oing, Mendez, Higgitt, JJ. 


Index No. 302074/12 Appeal No. 15233 Case No. 2021-00770 

[*1]C and J Brothers, Inc, Plaintiff-Appellant,
vHunts Point Terminal Produce Cooperative Association, Inc., Defendant-Respondent.


Barclay Damon LLP, New York (Michael J. Case of counsel), for appellant.
Fleming Ruvoldt PLLC, New York (Cathy Fleming of counsel), for respondent.



Order, Supreme Court, Bronx County (Norma Ruiz, J.), entered on or about May 27, 2020, which denied plaintiff's motion for leave to amend the complaint, unanimously affirmed, with costs.
Plaintiff sought amendment after the statute of limitations had expired on its claim and failed to satisfy the requirements of CPLR 203(b) (see Buran v Coupal, 87 NY2d 173, 177-178 [1995]). Additionally, plaintiff's motion to amend was properly denied because of plaintiff's protracted delay and lack of diligence in seeking leave to amend. Furthermore, amendment at this late stage would prejudice the proposed new defendant (see Barry v Clermont York Assoc. LLC, 144 AD3d 607 [1st Dept 2016]; Oil Heat Inst. of Long Is. Ins. Trust v RMTS Assoc., 4 AD3d 290 [1st Dept 2004]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








